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                        Government Tabulation of Losses in U.S. v. Hwang
                                                               Updated 12/18/2024
Compensable Bank Losses
Category                      BMO                 CS                Jefferies         Macquarie      Morgan Stanley        MUSE               Nomura             UBS
Losses from
Unrecovered Loans                   $0.00     $39,010,507.43        $8,065,436.12           $0.00               $0.00             $0.00    $475,775,728.32               $0.00
Losses From Variation
Margin & Payments                   $0.00 $4,745,586,060.00        $21,472,751.60           $0.00      $14,464,464.00 $187,031,995.00      $137,158,818.00               $0.00
Losses Incurred By
Facilitating Swaps         $30,465,614.91    $540,399,650.00        $6,981,519.56 $228,831,613.68 $2,884,711,647.00     $77,562,198.90    $2,236,033,666.52   $1,574,335,331.00

Credits Against Loss       $25,425,486.20    $419,327,281.65        $3,065,822.10 $196,808,086.20 $2,158,739,165.00     $20,440,135.32     $224,298,217.00     $780,279,104.00
Total                       $5,040,128.71 $4,905,668,935.78        $33,453,885.18 $32,023,527.48      $740,436,946.00 $244,154,058.58     $2,624,669,995.84    $794,056,227.00


Compensable Employee Losses
Category                 Christopher Burn    Sarah Gohmert        Cindy Huang        Ryan Kealy      Brendan Sullivan
Losses from deferred
compensation                   $925,000.00        $39,671.25        $3,263,265.01    $1,650,000.00      $3,770,000.00
Losses for fees/expenses        $10,000.00             $0.00           $35,000.00       $45,000.00       $273,774.49
Total Loss                     $935,000.00        $39,671.25        $3,298,265.01    $1,695,000.00      $4,043,774.49


Total Compensable Losses
Counterparty Losses     $9,379,503,704.57
Individual Losses          $10,011,710.75
Total Losses            $9,389,515,415.32
